DOCUMENTS UNDER SEAL
                    Case 3:20-mj-71049-MAG Document 10 Filed 09/11/20 Page 112ofmins.
                                                         TOTAL TIME (m ins):
                                                                                 1
M AGISTRATE JUDGE                          DEPUTY CLERK                            REPORTER/FTR
M INUTE ORDER                            Ivy Lerma Garcia                          Pamela Batalo-Hebel
MAGISTRATE JUDGE                           DATE                                    NEW CASE         CASE NUMBER
DONNA M. RYU                             9/11/20                                                    3-20-71049-MAG
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
NIMA FAZELI - by Video                             NO    P    Jonathan Lynn (Prov. Apptd. 4/4/19)          APPT.
U.S. ATTORNEY                              INTERPRETER                           FIN. AFFT               COUNSEL APPT'D
Andrew Dawson                                                                    SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Elba Romero                            APPT'D COUNSEL                OF CJA FEES
                          PROCEEDINGS SCHEDULED TO OCCUR%<=2209,'(2&21)(5(1&(
       INITIAL APPEAR          PRELIM HRG     MOTION             JUGM'T & SENTG                             STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING             IA REV PROB. or             OTHER 67$786
                                                                                  or S/R                5(&21'62)5(/+(/'
                                                                                                        PLQV
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA              PROB. REVOC.                ATTY APPT
                                                                                                              HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED             TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED              AMT OF SECURITY        SPECIAL NOTES                 PASSPORT
      ON O/R             APPEARANCE BOND           $                                                    SURRENDERED
                         816(&85('                                                                       DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED         RELEASED        DETENTION HEARING               REMANDED
      FOR             SERVICES                                                 AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
    CONSENT                     NOT GUILTY                GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA            PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                        FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                     STATUS RE:               STATUS
10/7/20                          HEARING                 HEARING                  CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.           PRELIMINARY             CHANGE OF                OTHER
                                 AFFIDAVIT               +5*$55$,*1
                                                                                 PLEA
10:30 a.m.                                               BBBBBBBBBBBBB
BEFORE HON.                      DETENTION               $55$,*1MENT              MOTIONS                  JUDGMENT &
                                 HEARING                                                                   SENTENCING
J. C. SPERO
       TIME WAIVED             TIME EXCLUDABLE            IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL               CONFERENCE               HEARING
                                 3161                     HEARING
                                                 ADDITIONAL PROCEEDINGS
Deft. waived his personal appear. & consented to proceed by video conf. Deft. consented for court to sign the Bond on his
behalf by putting /s/ & his name on the signature line. cc: Karen; Pret. Svcs.
